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                                                      Boca Raton            Melville                  San Diego
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                                                      November 26, 2019

                                                                                                                            VIA ECF


    The Honorable Margo K. Brodie
    United States District Court
      for the Eastern District of New York
    225 Cadman Plaza East
    Courtroom 6F
    Brooklyn, NY 11201

            Re:        In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation,
                       No. 1:05-MD-1720 (MKB)(JO)

    Dear Judge Brodie:

            Rule 23(b)(3) Class Counsel responds here to Your Honor’s Order of November 25, 2019.

            Class Counsel has discussed with Epiq, the Class Administrator, and with defendants the
    Court’s query regarding whether the Court should “consider both timely and untimely, as well as
    incomplete, exclusion requests in determining whether to finally approve the Rule 23(b)(3) class
    settlement, i.e., whether for the purposes of settlement the parties consider all 675 exclusion
    requests as resulting in exclusion.” It is the position of Epiq, Class Counsel and the defendants that
    all 675 exclusion requests should be considered as resulting in an exclusion.

                                                    Respectfully submitted,

      /s/ K. Craig Wildfang                     /s/ H. Laddie Montague, Jr.                   /s/ Patrick J. Coughlin
      K. Craig Wildfang                         H. Laddie Montague, Jr.                       Patrick J. Coughlin
      Thomas J. Undlin                          Merrill G. Davidoff                           Alexandra S. Bernay
      Robins Kaplan LLP                         Berger Montague PC                            Robbins Geller Rudman
                                                                                                 & Dowd LLP

    cc:     Counsel of Record via ECF




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